                     Case 2:19-cv-01504-RSL Document 14 Filed 10/15/19 Page 1 of 9



1

2    David J. Kaminski (Appearing Pro Hac Vice)                     Honorable Robert S. Lasnik
     kaminskid@cmtlaw.com
3
     CARLSON & MESSER LLP
4    5901 W. Century Boulevard, Suite #1200
     Los Angeles, CA 90045
5    Tel: (310) 242-2200
6

7
                                       UNITED STATES DISTRICT COURT
8
                                   WESTERN DISTRICT OF WASHINGTON
9

10    ROSALYNE SWANSON, individually and                 Case No. 2:19-cv-01504-RSL
      on behalf of all others individually situated,
11
                                                         ANSWER TO COMPLAINT
                          Plaintiff,
12
      v.                                                 JURY TRIAL DEMANDED
13

14
      NATIONAL CREDIT SERVICES, INC., a
15    Washington corporation,

16                        Defendant.

17

18

19                                                 ANSWER

20              COMES NOW Defendant NATIONAL CREDIT SERVICES, INC. (“Defendant”) by and

21
     through its counsel of record, and hereby answers the Complaint of Plaintiff ROSALYNE

22
     SWANSON (“Plaintiff”) by admitting, denying and alleging as follows:

23
                                          NATURE OF THE ACTION

24
               1.        Answering Paragraph 1 of the Complaint, Defendant admits Plaintiff claims to
     bring this suit on behalf of herself and the Class of similarly situated individuals to challenge
25
     Defendant’s alleged harassing debt collection calling practices and to obtain damages and other
26
     redress for all persons injured by such unlawful conduct. Defendant denies that it violated the law.
27

28
      {00124137;1}
                                                         CARLSON & MESSER LLP
      ANSWER TO COMPLAINT - 1                            5901 West Century Boulevard, Suite #1200
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1
               2.        Answering Paragraph 2 of the Complaint, Defendant admits each and every
2
     allegation.
3
               3.        Answering Paragraph 3 of the Complaint, Defendant denies each and every
4
     allegation.
5
                4.       Answering Paragraph 4 of the Complaint, conduct, Defendant admits that Plaintiff
6
     claims she files the instant lawsuit in response to NCS’s alleged unlawful conduct and seeks an
7
     injunction requiring NCS to stop placing calls using an ATDS and/or prerecorded or artificial voice
8
     to place telephone calls absent any consent, an award of actual and statutory damages to the
9
     members of the Class, together with costs, pre- and post- judgment interest, and reasonable
10
     attorneys’ fees. Defendant denies that it engaged in any alleged unlawful conduct.
11
                                                 JURISDICTION
12
                5.       Answering Paragraph 5 of the Complaint, Defendant denies that there is jurisdiction
13
     under CAFA. Defendant lacks sufficient information to either admit or deny the remainder of the
14
     allegations contained therein.
15
                6.       Answering Paragraph 6 of the Complaint, Defendant asserts this paragraph states a
16
     legal conclusion.
17              7.       Answering Paragraph 7 of the Complaint, Defendant asserts this paragraph states a
18   legal conclusion.
19                                                   PARTIES
20              8.       Answering Paragraph 8 of the Complaint, Defendant lacks sufficient information
21   to either admit or deny the allegations contained therein.
22              9.       Answering Paragraph 9 of the Complaint, Defendant admits each and every
23   allegation.
24                                         FACTUAL BACKGROUND
25              10.      Answering Paragraph 10 of the Complaint, Defendant lacks sufficient information
26   to either admit or deny the remainder of the allegations contained therein.
27

28
      {00124137;1}
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1
                11.      Answering Paragraph 11 of the Complaint, Defendant admits it called xxx-xxx-
2
     8951 in an attempt to collect on Plaintiff’s outstanding student loan debt. Defendant lacks
3
     sufficient information to either admit or deny the remainder of the allegations contained therein.
4
                12.      Answering Paragraph 12 of the Complaint, Defendant lacks sufficient information
5
     to either admit or deny the allegations contained therein.
6
                13.      Answering Paragraph 13 of the Complaint, Defendant denies each and every
7
     allegation.
8
                14.      Answering Paragraph 14 of the Complaint, Defendant denies it used an ATDS.
9
     Defendant lacks sufficient information to either admit or deny the remainder of the allegations
10
     contained therein.
11
                15.      Answering Paragraph 15 of the Complaint, and subparagraphs a-d, Defendant
12
     denies it autodialed Plaintiff. Defendant lacks sufficient information to either admit or deny the
13
     remainder of the allegations contained therein.
14
                16.      Answering Paragraph 16 of the Complaint, Defendant lacks sufficient information
15
     to either admit or deny the allegations contained therein.
16
                17.      Answering Paragraph 17 of the Complaint, Defendant denies each and every
17   allegation.
18              18.      Answering Paragraph 18 of the Complaint, Defendant denies each and every
19   allegation.
20              19.      Answering Paragraph 19 of the Complaint, Defendant denies each and every
21   allegation.
22              20.      Answering Paragraph 20 of the Complaint, Defendant admits that Plaintiff claims
23   that, on behalf of the Class, Plaintiff seeks an injunction requiring Defendant to cease all
24   unauthorized calling activities and an award of statutory damages to the class members, together
25   with costs, pre- and post-judgment interest, and reasonable attorneys’ fees. Defendant denies that
26   Plaintiff has a valid class or that it violated the law.
27   ///
28   ///
      {00124137;1}
                                                           CARLSON & MESSER LLP
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1
                                              CLASS ALLEGATIONS
2
                21.        Answering Paragraph 21 of the Complaint, Defendant denies that Plaintiff has a
3
     valid class.
4
                     22.   Answering Paragraph 22 of the Complaint, Defendant admits that Plaintiff claims
5
     that the following people are excluded from the Class: (1) any Judge or Magistrate presiding over
6
     this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,
7
     successors, predecessors, contractors, and any entity in which the Defendant or its parents have a
8
     controlling interest and their current or former employees, officers and directors; (3) persons who
9
     properly execute and file a timely request for exclusion from the Class; (4) persons whose claims
10
     in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
11
     counsel and Defendant’s counsel; and (6) the legal representatives, successors, and assignees of
12
     any such excluded persons. Defendant denies that Plaintiff has a valid class.
13
                23.        Answering Paragraph 23 of the Complaint, Defendant lacks sufficient information
14
     to either admit or deny the allegations contained therein.
15
                24.        Answering Paragraph 24 of the Complaint, Defendant denies each and every
16
     allegation.
17              25.        Answering Paragraph 25 of the Complaint, Defendant denies each and every
18   allegation.
19              26.        Answering Paragraph 26 of the Complaint, Defendant lacks sufficient information
20   to either admit or deny the allegations contained therein.
21              27.        Answering Paragraph 27 of the Complaint, Defendant denies each and every
22   allegation.
23              28.        Answering Paragraph 28 of the Complaint, Defendant denies each and every
24   allegation.
25              29.        Answering Paragraph 29 of the Complaint, Defendant denies each and every
26   allegation.
27   ///
28   ///
      {00124137;1}
                                                            CARLSON & MESSER LLP
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1
                                                CAUSE OF ACTION
2
                30.      Answering Paragraph 30 of the Complaint, Defendant incorporates Paragraph 1-29
3
     of the Complaint.
4
                31.      Answering Paragraph 31 of the Complaint, Defendant denies each and every
5
     allegation
6
                32.      Answering Paragraph 32 of the Complaint, Defendant denies each and every
7
     allegation.
8
                33.      Answering Paragraph 33 of the Complaint, Defendant denies each and every
9
     allegation.
10
                34.      Answering Paragraph 34 of the Complaint, Defendant lacks sufficient information
11
     to either admit or deny the allegations contained therein.
12
                35.      Answering 35 of the Complaint, Defendant denies each and every allegation.
13
                36.      Answering Paragraph 36 of the Complaint, Defendant lacks sufficient information
14
     to either admit or deny the allegations contained therein.
15
                37.      Answering Paragraph 37 of the Complaint, Defendant denies each and every
16
     allegation.
17

18                                          AFFIRMATIVE DEFENSES
                                         FIRST AFFIRMATIVE DEFENSE
19
                                              (Failure to State Cause of Action)
20
                1.       Plaintiff’s Complaint, and each cause of action contained therein, fails to state facts
21
     sufficient to constitute a valid cause of action against Defendant.
22
                                        SECOND AFFIRMATIVE DEFENSE
23                                              (Statute of Limitations)
24              2.       Defendant is informed and believes and based thereon alleges that Plaintiff’s
25   Complaint, and each cause of action contained therein, or portions thereof, is barred by the
26   applicable statutes of limitations.

27   ///
     ///
28
      {00124137;1}
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1                                       THIRD AFFIRMATIVE DEFENSE
2                                                   (No Standing)
3               3.       As a separate defense, Defendant asserts that Plaintiff’s claims and/or that of her

4
     putative class are barred for lack of standing.
                                       FOURTH AFFIRMATIVE DEFENSE
5
                                                (Equitable Defenses)
6
                4.       As a separate, affirmative defense, the Complaint, and each cause of action alleged
7
     therein against Defendant are barred by doctrines of estoppel, waiver, unclean hands, and other
8
     equitable doctrines.
9
                                         FIFTH AFFIRMATIVE DEFENSE
10
                                        (No Intentional or Reckless Conduct)
11
                5.       As a separate, affirmative defense, Defendant contends that it did not engage in any
12
     conduct that was outrageous, intentional and malicious or done with reckless disregard with
13
     respect to Plaintiff. Defendant also alleges that it never engaged in any knowing, willful or
14
     fraudulent conduct with respect to Plaintiff.
15
                                        SIXTH AFFIRMATIVE DEFENSE
16
                                              (Mitigation of Damages)
17
                6.       Plaintiff is not entitled to recover any damages, or any recovery awarded should be
18
     reduced by the amount of damages which reasonably could have been avoided, because Plaintiff
19
     failed to take reasonable steps to mitigate her damages with respect to the matters alleged in the
20
     Complaint.
21
                                      SEVENTH AFFIRMATIVE DEFENSE
22
                                     (Exception for student loan collection calls)
23
                7.       As a separate, affirmative defense, Defendant asserts that the calls to Plaintiff or
24
     her putative class were pursuant to an exception for calls “made solely to collect a debt owed to or
25
     guaranteed by the United States.” Defendant asserts any subsequent invalidation of the exemption
26
     does not have retroactive effect.
27
     ///
28
     ///
      {00124137;1}
                                                            CARLSON & MESSER LLP
      ANSWER TO COMPLAINT - 6                               5901 West Century Boulevard, Suite #1200
      Case No. 2:19-cv-01504-RSL                            Los Angeles, California 90045
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1
                                       EIGHTH AFFIRMATIVE DEFENSE
2
                                               (Prior Express Consent)
3
                8.       As a separate, affirmative defense, Defendant asserts that it had prior express
4
     consent to call the numbers at issue.
5
                                        NINTH AFFIRMATIVE DEFENSE
6
                                              (Substantial Compliance)
7
                9.       As a separate, affirmative defense, Defendant asserts it substantially complied with
8
     the requirements of the statutes at issue.
9
                                        TENTH AFFIRMATIVE DEFENSE
10
                                                (Assumption of Risk)
11
                10.      As a separate, affirmative defense, Defendant asserts that Plaintiff or her putative
12
     class assumed the risk of the calls made by Defendant.
13
                                     ELEVENTH AFFIRMATIVE DEFENSE
14
                                          (Reasonableness and Good Faith)
15
                11.      Defendant and its agents, if any, acted reasonably and in good faith at all times
16
     material herein, based on all relevant facts and circumstances known by them at the time they so
17   acted, Defendant alleges that they acted lawfully and within their legal rights, with a good faith
18   belief in the exercise of those rights, and in the furtherance of legitimate business purpose. Further,
19   Defendant acted in good faith in the honest belief that the acts, conduct and communications, if
20   any, of Defendant were justified under the circumstances based on information reasonably
21   available to this answering Defendant. Accordingly, Plaintiff or her putative class are barred from
22   any recovery in this action.
23                                    TWELFTH AFFIRMATIVE DEFENSE
24                                                (No Class Action)
25              12.      As a separate affirmative defense, Defendant alleges that Plaintiff’s claims are
26   barred, in whole or in part, because class members are not identifiable and because this case is not
27   appropriate for class treatment, including, but not limited to, lack of typicality, predominance of
28   individualized issues, and superiority.
      {00124137;1}
                                                            CARLSON & MESSER LLP
      ANSWER TO COMPLAINT - 7                               5901 West Century Boulevard, Suite #1200
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1
                                    THIRTEENTH AFFIRMATIVE DEFENSE
2
                                                    (Arbitration)
3
                13.      As a separate affirmative defense, Defendant reserves the right to compel
4
     arbitration.
5
                                   FOURTEENTH AFFIRMATIVE DEFENSE
6
                                       (Lack of Subject-Matter Jurisdiction)
7
                14.      As a separate affirmative defense, Defendant asserts this Court lacks subject matter
8
     jurisdiction over the issues raised by Plaintiff’s Complaint.
9
                                    DEFENDANT’S PRAYER FOR RELIEF
10
                       WHEREFORE, Defendant denies every request in Plaintiff’s prayer, and prays that
11
     Plaintiff’s Complaint be dismissed with prejudice, for its attorneys’ fees and costs incurred herein,
12
     and for such further relief as the court deems just and equitable.
13
                                             JURY TRIAL DEMAND
14
                         Defendant demands a trial by jury.
15

16

17                                                            s/David J. Kaminski
      Dated: October 15, 2019
                                                              David J. Kaminski, pro hac vice
18                                                            kaminskid@cmtlaw.com
                                                              Stephen A. Watkins, pro hac vice
19
                                                              wadea@cmtlaw.com
20                                                            CARLSON & MESSER LLP
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21                                                            Suite 1200
                                                              Los Angeles, CA 90045
22
                                                              (310) 242- 2200
23
                                                              Attorneys for Defendant,
24                                                            NATIONAL CREDIT SERVICES, INC.
25

26

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      {00124137;1}
                                                              CARLSON & MESSER LLP
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                     Case 2:19-cv-01504-RSL Document 14 Filed 10/15/19 Page 9 of 9



1
                                       CERTIFICATE OF SERVICE
2
                I, David J. Kaminski, hereby certify that on this 15th day of October, 2019, a true and
3
     accurate copy of the foregoing Answer to Complaint was filed through the ECF system, which
4
     will send notification of such filing to the e-mail addresses associated with this case.
5

6

7                                                            /s/David J. Kaminski
                                                             David J. Kaminski
8                                                            CARLSON & MESSER LLP
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      {00124137;1}
                                                        CARLSON & MESSER LLP
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